08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                   Pg 1 of 47




                            EXHIBIT A
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                   Pg 2 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                   Pg 3 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                   Pg 4 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                   Pg 5 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                   Pg 6 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                   Pg 7 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                   Pg 8 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                   Pg 9 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 10 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 11 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 12 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 13 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 14 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 15 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 16 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 17 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 18 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 19 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 20 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 21 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 22 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 23 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 24 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 25 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 26 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 27 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 28 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 29 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 30 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 31 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 32 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 33 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 34 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 35 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 36 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 37 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 38 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 39 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 40 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 41 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 42 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 43 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 44 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 45 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 46 of 47
08-13555-mg   Doc 22254-1   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit A
                                  Pg 47 of 47
